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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI


IN THE MATTER OF:                                            CHAPTER 13 CASE NO:

ANNIE D. LESTER                                              19-12917-JDW

       NOTICE OF TRUSTEE’S MOTION TO MODIFY CONFIRMED PLAN

      Should any party receiving this notice respond or object to said motion, such
response or objection is required to be filed on or before March 3, 2019, using the
CM/ECF system or with the Clerk of this Court at the following address:

                          Shallanda J. Clay, Clerk of Court
                              U. S. Bankruptcy Court
                           Northern District of Mississippi
                              703 Highway 145 North
                                Aberdeen, MS 39730

and a copy must be served on the undersigned Chapter 13 Trustee. If no responses
are filed, the Court may consider said motion immediately after the time has expired.
In the event a written response is filed, the Court will notify you of the date, time and
place of the hearing thereon.

                                    CERTIFICATE

       I, the undersigned Attorney for Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage
prepaid, or electronically notified through the CM/ECF system, a copy of the above
and foregoing to the following attorneys of record and/or parties of interest.

Dated: January 30, 2020
                                         LOCKE D. BARKLEY, TRUSTEE

                                         /s/ Melanie T. Vardaman
                                         ATTORNEYS FOR TRUSTEE
                                         W. Jeffrey Collier (MSB 10645)
                                         Melanie T. Vardaman (MSB 100392)
                                         6360 I-55 North, Suite 140
                                         Jackson, Miss. 39211
                                         (601) 355-6661
                                         ssmith@barkley13.com
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             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                          CHAPTER 13 CASE NO.:

ANNIE D. LESTER                                            19-12917-JDW

                     MOTION TO MODIFY CONFIRMED PLAN

      COMES NOW Locke D. Barkley, Chapter 13 Trustee (the “Trustee”) by and

through counsel, and files this Motion to Modify Confirmed Plan. The recipient(s) of

this motion have 30 days, subject to Fed. R. Bankr. P. 9006(f), in which to file a

response or objection. In support of the Motion, the Trustee states as follows:

      1.     The Debtor’s Chapter 13 plan was confirmed by Order of this Court

entered on January 13, 2020, for a term of sixty (60) months (Dkt. #44) (the

“Confirmed Plan”).    The Confirmed Plan does not provide for a distribution to

nonpriority unsecured creditors.

      2.     On January 24, 2020, Marshall County Tax Collector (the “Creditor”)

filed a Proof of Claim in the amount of $692.44 (Clm #11-1) (the “Claim”)

representing ad valorem taxes due for the 2018 and 2019 tax years. The Confirmed

Plan does not include a provision for the Claim.

      3.     The Trustee requests that the Confirmed Plan be modified to add a

special provision in Section 8.1 which indicates that the 2018 and 2019 taxes owed

to the Creditor will be paid directly by the Debtor along with any future property

taxes which become due.

       4.    The Debtor’s plan payment should remain unaltered.
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      WHEREFORE, PREMISES CONSIDERED, the Trustee prays that upon

notice and hearing that this Court enter its order granting the Motion and for such

other relief to which Trustee and this bankruptcy estate may be entitled.

      Dated: January 30, 2020

                                        Respectfully submitted,

                                        LOCKE D. BARKLEY
                                        CHAPTER 13 TRUSTEE

                                        /s/ Melanie T. Vardaman
                                        ATTORNEYS FOR TRUSTEE
                                        W. Jeffrey Collier (MSB 10645)
                                        Melanie T. Vardaman (MSB 100392)
                                        6360 I-55 North, Suite 140
                                        Jackson, Miss. 39211
                                        (601) 355-6661
                                        ssmith@barkley13.com


                            CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I
electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
and I hereby certify that I either mailed by United States Postal Service, first class,
postage prepaid, or electronically notified through the CM/ECF system, a copy of
the above and foregoing to the Debtor, attorney for the Debtor, the United States
Trustee, and other parties in interest, if any, as identified below.

      Marshall County Tax Collector
      Post Office Box 40
      Holly Springs, MS 38635

Dated: January 30, 2020

                                        /s/ Melanie T. Vardaman
                                        MELANIE T. VARDAMAN
